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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


  UNITED STATES OF AMERICA,

                      Plaintiff,

  v.                                                           Case No. 11-20551

  JOHN GERALT, M.D. (D-19),

                     Defendant.
                                                 /

                       OPINION AND ORDER DENYING
               DEFENDANT’S MOTION FOR JUDGMENT OF ACQUITTAL

        On July 2, 2015, a jury found Defendant John Geralt guilty of conspiracy to

  distribute controlled substances. (Dkt. # 1160, Pg. ID 8142-43.) Now before the court

  is Defendant’s Motion for Judgment of Acquittal (Dkt. # 1177). He argues two theories:

  that there was no evidence from which a jury could conclude that Defendant knowingly

  joined the conspiracy (which Defendant acknowledges was ongoing), and that there

  was no evidence of a medical practice “standard of care” which could be proven to be

  been violated by Defendant. For the reasons stated below, the court will deny the

  motion.

                                     I. BACKGROUND

        Defendant was indicted and tried as an alleged conspirator with two other

  defendants, Adelpho Pamatmat and Sardar Ashrafkhan. Defendant here alleges that

  there as insufficient evidence, as set forth immediately above.
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                                        II. STANDARD

         A motion for judgment of acquittal arises under Fed.R. Crim. P. 29, and asserts

  that, even “viewing the evidence in the light most favorable to the prosecution, any

  rational trier of facts could have found the essential elements of the crime beyond a

  reasonable doubt.” Jackson v. Virginia, 443 U.S. 307, 319 (1979). A defendant

  claiming insufficiency of the evidence bears the burden of persuasion. United States v.

  Ramirez, 635 F.3d 249, 256 (6th Cir. 2011) (“This standard is a great obstacle to

  overcome.”).

         To grant such a motion, the court must be persuaded that the conviction was not

  based on sufficient substantial and competent evidence, considering the record as a

  whole. United States v. Ellzey, 874 F.2d 324, 328 (6th Cir. 1989). “Circumstantial

  evidence alone is sufficient to sustain a conviction, and such evidence need not remove

  every reasonable hypothesis except that of guilty.” United States v. Spearman, 186 F.3d

  743, 746 (6th Cir. 1999). Moreover, even “uncorroborated testimony” given by an

  accomplice may support a conviction. United States v. Gallo, 763 F.2d 1504, 1518 (6th

  Cir. 1985), cert. denied, 475 U.S. 1017 (1986).

                                       III. DISCUSSION

         The court has reviewed the transcript of the portions of the trial transcript and is

  persuaded that the evidence was sufficient. Credibiility determinations are for the jury,

  and the jury is permitted to draw inferences and conclusions from the admitted exhibits

  and testimony. The jury therefore was permitted to conclude that Defendant Geralt fit in

  seamlessly at the clinic, signing charts wholesale as though he had conducted

  examinations, with no legitimate “patient” interaction, and issuing the desired

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  prescriptions for controlled substances as directed by the patient “recruiter.” The

  testimony was sufficient both to indicate that Defendant was participating in a

  conspiracy, and that he was acting other than in good faith in creating false charts and

  issuing prescriptions for unexamined “patients.” The jury, finally, was permitted to take

  into account the Defendant’s several false statements to FBI agents who interviewed

  him at his home in determining whether he was acting medically in “good faith.” The jury

  could well conclude that if he was willing to lie so specifically and so clearly to them,

  then the likelihood of legitimacy in his other actions was substantially diminished. “I'm

  not upset that you lied to me, I'm upset that from now on I can't believe you.” (Attributed

  to Friedrich Nietzsche).

                                                   III. CONCLUSION

           IT IS ORDERED THAT Defendant’s Motion for Judgment of Acquittal is DENIED.


                                                             s/Robert H. Cleland
                                                            ROBERT H. CLELAND
                                                            UNITED STATES DISTRICT JUDGE

  Dated: December 16, 2015

  I hereby certify that a copy of the foregoing document was mailed to counsel of record
  on this date, December 16, 2015, by electronic and/or ordinary mail.

                                                             s/Lisa Wagner
                                                            Case Manager and Deputy Clerk
                                                            (313) 234-5522




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